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August 12, 2015

To Whom it May Concern,

I am writing on behalf of Muneeb Akhter. I have known his family for over 20 years. They are kind,
caring and active members of society. His parents have instilled a respect for education and work ethic
in Muneeb, which is evident in his numerous educational accomplishments. Through hard work and
family support, he earned his Bachelor’s Degree in Electrical Engineering at the tender age of 19. While
many of his peers were starting college, Muneeb was navigating the competitive job market.

Clearly beginning his career at such a young age had its pitfalls, hence his current legal situation.
However, I urge anyone who is involved in the outcome of his case to consider the words of those who
have known Muneeb personally. I have watched him grow up through the years. He has always been a
polite, hard-working and respectful young man. Anytime I’ve seen him, he is either studying or spending
time with his family. He is gentle and considerate with his younger siblings and respects his elders. This
shows the true character of Muneeb Akther. I respectfully ask you to please consider these points when
deciding on the fate of such an honorable young man. Thank you.



Sincerely,



Zarina Ameen
